






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00053-CR

NO. 03-12-00054-CR






Reginald Timothy Prince, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT

NOS. 68388 &amp; 68387, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Reginald Timothy Prince pleaded guilty to two counts of burglary of a habitation.
See&nbsp;Tex. Penal Code Ann. § 30.02(a) (West 2011).  He entered his pleas in open court without the
benefit of a plea agreement as to punishment, other than that the State would recommend that the
punishments would run concurrently.  Following a punishment hearing, the court adjudged Prince
guilty and assessed punishment at eighteen years' imprisonment for each conviction, with sentences
to run concurrently.

		Prince's court-appointed attorney filed a brief concluding that the appeal is frivolous
and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738 (1967),
by presenting a professional evaluation of the record demonstrating why there are no arguable
grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573 S.W.2d
807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); Jackson v.
State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App.
1969).  Prince received a copy of counsel's brief and was advised of his right to examine the
appellate record and to file a pro se brief.  No pro se brief has been filed.

		We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  See
Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  Counsel's motion to withdraw
is granted.

		The judgment of conviction is affirmed.


						__________________________________________

						Diane M. Henson, Justice

Before Justices Puryear, Pemberton, and Henson

Affirmed

Filed:   October 3, 2012

Do Not Publish


